Case 1:23-cv-01102-RJJ-PJG ECF No. 14, PageID.690 Filed 10/20/23 Page 1 of 1
                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
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                                        October 20, 2023

Ingham County Circuit Court
315 S Jefferson St.
Mason, MI 48854

       Re: Brenda Tracy, LLC et al v. Alvarado et al
           Our Case No. 1:23-cv-1102-RJJ-PJG
           Your Case No. 23-00671-CZ


Dear Court Personnel:

Pursuant to the enclosed Order of Remand to your Court filed October 19, 2023, we are
herewith sending certified copies of our order of remand and docket sheet.

The documents that make up the case file are available electronically through PACER.
Please contact our e-filing help desk via email at ecfhelp@miwd.uscourts.gov if you
need further assistance.

Please acknowledge receipt of this remanded case by returning a date-stamped copy of
this letter to our court in the enclosed self-addressed envelope. Thank you.

                                                      Sincerely,

                                                      CLERK OF COURT

                                                      /s/ E. Siskind

                                                      By: Deputy Clerk



Enclosures
